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 8                                 UNITED STATES DISTRICT COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
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12    GEORGE JONES, an individual,                  Case No.: CV 21-3607-DMG (SKx)
13                   Plaintiff,
                                                    ORDER RE DISMISSAL OF ACTION
14        v.                                        WITH PREJUDICE [26]
15    YOUNG K. LEE, Trustee of the Lee
      Family Trust dated April 15, 2009;
16    DIANA S. LEE, Trustee of the Lee
      Family Trust dated April 15, 2009; and
17    DOES 1-10,
18                   Defendants.
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21             Pursuant to Fed. R. Civ. P. 41(a), the Court, having considered the parties’
22    stipulation, and good cause appearing,
23             IT IS ORDERED THAT:
24             The above-captioned action is dismissed with prejudice. The parties shall bear
25    their own fees and costs.
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27    DATED: September 28, 2021                                              _____
                                                             DOLLY M. GEE
28                                                   UNITED STATES DISTRICT JUDGE

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